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                                      CHS REPORTING DOCUMENT


                                                       HEADER
 Source ID:                                7465
 Date:                              12/12/2019
 Case Agent Name:                   SMITH, MATTHEW P
 Field Office/Division:             New Orleans
 Squad:                             Squad 4

                                                 SOURCE REPORTING
 Date of Contact:                   11/19/2019
List all present including yourself (do not include the CHS):
SA Brandon Brown, LSP Investigator Jason Gagliano, SA Matthew Smith
Type of Contact:                    In Person

    Country:                       UNITED STATES
    City:                          New Orleans
    State:                         Louisiana

Date of Report:                    12/12/2019


Substantive Case File Number



Check here if additional reporting is in Echo
No
Source Reporting:
                                             owned a body shop and
staged accidents for the KING FIRM until he was murdered about two years ago.
CHS learned how to stage accidents from               but             was mostly
staging accidents with cars until he began working with CHS.              told CHS not to put four people in a car
when
staging an accident because it raised red flags. Staged accident participants
were recruited by word of mouth. CHS met participants in intentionally varied
locations when setting up staged accidents. Not all participants knew they were
getting into a staged accident.

CHS believed every tractor-trailer accident at the KING FIRM was a staged accident from
and CHS. CHS staged accidents for the KING FIRM from about 2015 to 2017. The KING FIRM paid the most money
for accidents beginning at
$1,300 per person but then it dropped to $1,000 in 2017. CHS met JASON GILES
(GILES) through              They met in a Mercedes G-class in front of the KING
FIRM. GILES primarily dealt with              CHS met GILES a couple of times.

GILES wanted CHS to bring them 25 cases per month.
              gave GILES money to pay           who then paid CHS. CHS met three
or four Attorneys who worked for the KING FIRM.
                                                                                                          GOVERNMENT
                                                                                                            EXHIBIT
Sometimes CHS and              had to take breaks from staging accidents for
the KING FIRM because the KING FIRM had to replenish the funds for staging
accidents. CHS believed the KING FIRM sold excess cases to other firms for
                                                                                                                A
about $10,000.

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                                                  UNCLASSIFIED



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